JS 44 (Rev. 06/17)

The JS 44 civil cover sheet and

provided by local rules of court.

Case 5:19-cv-00142-JFL Document1 Filed 01/09/19 Page 1 of 8
CIVIL COVER SHEET

the information contained herein neither ie
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This form, approved by the Judicial Con U

ement the filing and service of pleadings or other papers as required by law, except as
rence of the

nited States in September 1974, is required for the use of the Clerk of Court for the

purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS

JOSHUA COULTER, RAMSEY COULTER

(b) County of Residence of First Listed Plaintiff
(EXCEPT IN U.S. PLAINTIFF CASES)

zeMe

L LAW LLC

1373 Broad Street, Suite 203-C
Clifton, New Jersey 07013 Phone: (862) 227-3106

Attorneys (Firm Name, Address, and Telephone Number)

DEFENDANTS
PENN CREDIT CORPORATION

Lancaster County, PA County of Residence of First Listed Defendant _Dauphin County, PA
(IN U.S. PLAINTIFF CASES ONLY)

IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

NOTE:

Attorneys (Jf Known)

 

 

 

 

 

 

 

 

 

 

 

 

 

II. BASIS OF JURISDICTION (Place an "X” in One Box Only) II. CITIZENSHIP OF PRINCIPAL PARTIES (Place an "X” in One Box for Plaintiff
(For Diversity Cases Only) and One Box for Defendant)
O 1 U.S. Government 3 Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State o1 © 1 Incorporated or Principal Place O4 04
of Business In This State
O 2 U.S. Government O14 Diversity Citizen of Another State O 2 © 2 Incorporated and Principal Place os as
Defendant (Indicate Citizenship of Parties in Item IIl) of Business In Another State
Citizen or Subject of a qga3 O 3 Foreign Nation O6 O86
Foreign Country
IV. NATURE OF SUIT (Place an “x” in One Box Only) Click here for: Nature of Suit Code Descriptions.
[ CONTRACT TORTS FORFEITURE/PENALTY | BANKRUPTCY Onn STATOTES
06 110 Insurance PERSONAL INJURY PERSONALINJURY [0 625 Drug Related Seizure © 422 Appeal 28 USC 158 O 375 False Claims Act
© 120 Marine 0 310 Airplane © 365 Personal Injury - of Property 21 USC 881 |© 423 Withdrawal OC 376 Qui Tam (31 USC
O 130 Miller Act 0 315 Airplane Product Product Liability O 690 Other 28 USC 157 3729(a))
0 140 Negotiable Instrument Liability O 367 Health Care/ © 400 State Reapportionment
0 150 Recovery of Overpayment | 320 Assault, Libel & Pharmaceutical PROPERTY RIGHTS O 410 Antitrust
& Enforcement of Judgment Slander Personal Injury O 820 Copyrights © 430 Banks and Banking
O 151 Medicare Act 0 330 Federal Employers’ Product Liability O 830 Patent © 450 Commerce
0 152 Recovery of Defaulted Liability 1 368 Asbestos Personal © 835 Patent - Abbreviated © 460 Deportation
Student Loans © 340 Marine Injury Product New Drug Application | 470 Racketeer Influenced and
(Excludes Veterans) © 345 Marine Product Liability 6 840 Trademark Corrupt Organizations
© 153 Recovery of Overpayment Liability PERSONAL PROPERTY LABOR. jRIT (XK 480 Consumer Credit
of Veteran's Benefits © 350 Motor Vehicle 1 370 Other Fraud O 710 Fair Labor Standards © 861 HIA (1395ff) O 490 Cable/Sat TV
© 160 Stockholders’ Suits ©) 355 Motor Vehicle 0 371 Truth in Lending Act O} 862 Black Lung (923) 0 850 Securities/Commodities/
© 190 Other Contract Product Liability © 380 Other Personal 0} 720 Labor/Management 0 863 DIWC/DIWW (405(g)) Exchange
© 195 Contract Product Liability | 360 Other Personal Property Damage Relations 0 864 SSID Title XVI © 890 Other Statutory Actions
© 196 Franchise Injury © 385 Property Damage O 740 Railway Labor Act O01 865 RSI (405(g)) © 891 Agricultural Acts
6 362 Personal Injury - Product Liability O 751 Family and Medical O 893 Environmental Matters
Medical Malpractice Leave Act 0 895 Freedom of Information
[ REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS (| 790 Other Labor Litigation FEDERAL TAX SUITS Act
© 210 Land Condemnation © 440 Other Civil Rights Habeas Corpus: © 791 Employee Retirement O 870 Taxes (U.S. Plaintiff 1 896 Arbitration
© 220 Foreclosure 0 441 Voting 0 463 Alien Detainee Income Security Act or Defendant) 0 899 Administrative Procedure
© 230 Rent Lease & Ejectment 6 442 Employment 0 510 Motions to Vacate 0 871 IRS—Third Party Act/Review or Appeal of
© 240 Torts to Land 0 443 Housing/ Sentence 26 USC 7609 Agency Decision
© 245 Tort Product Liability Accommodations 0 530 General 0} 950 Constitutionality of
© 290 All Other Real Property © 445 Amer. w/Disabilities - | 535 Death Penalty IMMIGRATION State Statutes
Employment Other: © 462 Naturalization Application
0 446 Amer. w/Disabilities- | 540 Mandamus & Other | 465 Other Immigration
Other 0 550 Civil Rights Actions
(0 448 Education © 555 Prison Condition
0 560 Civil Detainee -
Conditions of
Confinement

 

 

 

 

 

 

V. ORIGIN (Place an “x” in One Box Only)

JX1 Original 2 Removed from [ 3  Remanded from O 4 Reinstatedor © 5 Transferred from © 6 Multidistrict O 8 Multidistrict
Proceeding State Court. Appellate Court Reopened Another District Litigation - Litigation -
(specify) Transfer Direct File

 

VI. CAUSE OF ACTION

Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
Fair Debt Collection Practices Act, 15 U.S.C. 1692 et. seq.

Brief description of cause:

Unfair/Illegal debt collection practices

 

 

 

 

 

 

VII. REQUESTED IN O CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. JURY DEMAND: Bi Yes ONo

VIII. RELATED CASE(S)
IF ANY (See instructions) NGE DOCKET NUMBER

DATE SIGNATURE OF ATTORNEY OF RECORD 4

01/08/2019 elit

FOR OFFICE USE ONLY

RECEIPT # AMOUNT APPLYING IFP MAG. JUDGE

JUDGE
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JS 44 Reverse (Rev. 06/17)

INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.(a)

(b)

(c)

I.

III.

IV.

VI.

VI.

VIII.

Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and
then the official, giving both name and title.

County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)

Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
in this section "(see attachment)".

Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "<"
in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.

United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.

Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
precedence, and box | or 2 should be marked.

Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
cases.) {

Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
section for each principal party.

Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
that is most applicable. Click here for: Nature of Suit Code Descriptions.

Origin. Place an "X" in one of the seven boxes.

Original Proceedings. (1) Cases which originate in the United States district courts.

Removed from State Court: (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
When the petition for removal is granted, check this box.

Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
date.

Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
multidistrict litigation transfers.

Multidistrict Litigation — Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
Section 1407.

Multidistrict Litigation — Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
changes in statue.

Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service

Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.
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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF PENNSYLVANIA

 

: Case No.:
JOSHUA COULTER, RAMSEY COULTER, ee
Plaintiffs,
vs. ) COMPLAINT
}
PENN CREDIT CORPORATION,
Defendant. :
)
Plaintiffs allege:

IL,

PRELIMINARY STATEMENT

This is an action for damages arising from Defendant’s violations of the Fair Debt

Collections Practices Act, 15 U.S.C. §1692 et seg. (hereinafter “FDCPA”).

a.

6.

JURISDICTION AND VENUE
This Court has jurisdiction over this action pursuant to 28 U.S.C. §1331.
Venue is proper in this district under 28 U.S.C §1191(b).
PARTIES
Plaintiff, Joshua Coulter, is a natural person, whom resides in Narvon, Pennsylvania.
Plaintiff, Ramsey Coulter, is a natural person, whom resides in Narvon, Pennsylvania.

Defendant, Penn Credit Corporation (“Penn Credit”), is a corporation that regularly

conducts business in Pennsylvania with its corporate headquarters located at 916 South 14th Street,

Harrisburg, Pennsylvania 17104. Defendant is a “debt collector” as the phrase is defined and

applied under 15 U.S.C. §1692(a) of the FDCPA in that they regularly attempt to collect on debts

primarily incurred for personal, family or household purposes.
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FACTUAL STATEMENT
h On or about December 2, 2018, in attempt to collect a consumer debt, allegedly due and
owing, Defendant made a phone call to a Mr. Ramsey Coulter.
8. Ramsey Coulter is the brother of Joshua Coulter.
2 Ramsey Coulter was unavailable and Defendant left a pre-recorded message on his
machine requesting a call back.
10. Ramsey Coulter called Penn Credit back inquiring about the message left. During the
call, Penn Credit informed Ramsey Coulter that they were looking for Joshua Coulter.
11. Penn Credit also informed Ramsey Coulter that this was in regards to an attempt to
collect a debt, as Penn Credit is a debt collector.
12. In addition, Penn Credit also asked of Ramsey Coulter to have Plaintiff Joshua Coulter
return Penn Credit’s call thereby seeking to make Ramsey Coulter into an agent for Penn Credit
in its attempt to collect said debt.
13. Penn Credit’s third party disclosures concerning debts owed by Plaintiff Joshua Coulter
to Mr. Ramsey Coulter violate the FDCPA.

COUNT I
VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT

15 U.S.C. §1692 et seq.

14. Plaintiff Joshua Coulter repeats the allegations contained in the above paragraphs and

incorporates them as if specifically set forth at length herein.
15. | Defendant’s actions violate Section 1692c(b) of the FDCPA.

16. Plaintiff Joshua Coulter never provided Defendant with consent to call Ramsey Coulter,

and Defendant’s conduct went beyond that permitted by Section 1692b.
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WHEREFORE, PLAINTIFF JOSHUA COULTER PRAYS that this Court grant him a
judgment against Defendant for statutory and actual damages, along with costs, interest, and
attorney’s fees.

COUNT II
VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT

42 U.S.C. §227 et seg.
17. Plaintiff Ramsey Coulter repeats the allegations contained in the above paragraphs and

incorporates them as if specifically set forth at length herein.
18. Defendant never had express consent to communicate with Plaintiff Ramsey Coulter.

19. Asaresult of Defendant’s violations of the TCPA, Ramsey Coulter is entitled to statutory

damages pursuant to 42 U.S.C. §227(b)(3)(B).

WHEREFORE, PLAINTIFF RAMSEY COULTER PRAYS that this Court grant him a
judgment against Defendant for statutory damages, along with costs and interest.
JURY TRIAL DEMAND

Plaintiff demands a jury trial on all issues so triable.

Dated A day of January, 2019.

Respectfully Submitted,

x.
MAA.
Nicholas Linker, Esq. (ID# 321521)

ZEMEL LAW LLC

1373 Broad Street, Suite 203-C
Clifton, New Jersey 07013
nl@zemellawllc.com

Phone: (862) 227-3106

Fax: (973) 282-8603
Attorney for Plaintiffs
Case 5:19-cv-00142-JFL
SNEED FoR e Tice URRE 1/09/19 Page 6 of 8

FOR THE EASTERN DISTRICT OF PENNSYLVANIA

DESIGNATION FORM
(to be used by counsel or pro se plaintiff to indicate the category of the case for the purpose of assignment to the appropriate calendar)

Address of Plaintiff, 406 Lambert Rd., Narvon, PA 17555;1213 Reading Road, Narvon, PA 17555

 

 

 

 

Addvese of Tetendane 916 South 14th Street, Harrisburg, Pennsylvania 17104
Place of Accident, Incident or Transaction: 1213 Reading Road, Narvon, PA 17555
RELATED CASE, IF ANY:

Case Number: Judge: Date Terminated:

 

 

Civil cases are deemed related when Fes is answered to any of the following questions:

1. Is this case related to property included in an earlier numbered suit pending or within one year Yes [| no[ /|
previously terminated action in this court?

i : ‘ ‘
2. Does this case involve the same issue of fact or grow out of the same transaction as a prior suit Yes [| No
pending or within one year previously terminated action in this court?

3. Does this case involve the validity or infringement of a patent already in suit or any earlier Yes [| No
numbered case pending or within one year previously terminated action of this court?

4. Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights Yes [| No
case filed by the same individual?

I certify that, to my knowledge, the within case Dis / © is not related to any case now pending or within one year previously terminated action in
this court except as noted above. ‘

/) aa
pare, 01/08/2019 iss 321521

 

 

 

 

 

 

Attorney-at-Law / Pro Se Plaintiff Attorney ID. # (if applicable)

CIVIL: (Place a \ in one category only)
A, Federal Question Cases:' B. Diversity Jurisdiction Cases:
CJ 1. Indemnity Contract, Marine Contract, and All Other Contracts C1 1. Insurance Contract and Other Contracts
C] 2. FELA ‘ [] 2. Airplane Personal Injury
(1) 3. Jones Act-Personal Injury [J] 3. Assault, Defamation
[] 4. Antitrust [LJ 4. Marine Personal Injury
: 5. Patent CL] §$. Motor Vehicle Personal Injury

6. Labor-Management Relations [] 6. Other Personal Injury (Please specify):
1 7. Civil Rights CL] 7. Products Liability
[] 8. Habeas Corpus [1 8. Products Liability — Asbestos
H 9. Securities Act(s) Cases Cl 9. Allother Diversity Cases

10. Social Security Review Cases (Please specify):
11. All other Federal Question Cases

(Please specify): 15 U.S.C. Section 1692 et seq.
————Remanded from Appellate Court eae

 

 

 

ARBITRATION CERTIFICATION
(The effect of this certification is to remove the case from eligibility for arbitration.)

I , counsel of record or pro se plaintiff, do hereby certify:

[ Pursuant to Local Civil Rule 53.2, § 3(c) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
exceed the sum of $150,000.00 exclusive of interest and costs:

[| Relief other than monetary damages is sought.

DATE:

 

Attorney-at-Law / Pro Se Plaintiff Attorney LD. # (if applicable)

NOTE: A trial de novo will be a trial’by jury only if there has been compliance with F.R-C.P. 38.

 

Civ. 609 (5/2018)

 
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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CASE MANAGEMENT TRACK DESIGNATION FORM
JOSHUA COULTER, RAMSEY COULTER,

 

CIVIL ACTION

v.
PENN CREDIT CORPORATION,
NO.

In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
filing the complaint and serve a copy on all defendants. (See § 1:03 of the plan set forth on the reverse
side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
the plaintiff and all other parties, a Case Management Track Designation Form specifying the track
to which that defendant believes the case should be assigned.

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:
(a) Habeas Corpus — Cases brought under 28 U.S.C. § 2241 through § 2255. ( )

(b) Social Security — Cases requesting review of a decision of the Secretary of Health
and Human Services denying plaintiff Social Security Benefits. ( )

(c) Arbitration — Cases required to be designated for arbitration under Local Civil Rule 53.2. ( )

(d) Asbestos — Cases involving claims for personal injury or property damage from
exposure to asbestos. ( )

(e) Special Management — Cases that do not fall into tracks (a) through (d) that are
commonly referred to as complex and that need special or intense management by
the court. (See reverse side of this form for a detailed explanation of special

 

 

 

management cases.) ( )
(f) Standard Management — Cases that do not fall into any one of the other tracks. (X)
‘ben 19 Nicholas Linker Plaintiffs, Joshua Coulter & Ramsey Coulter
Date Attorney-at-law Attorney for
862-227-3106 973-282-8603 nl@zemellawllc.com
Telephone FAX Number E-Mail Address

(Civ. 660) 10/02
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Civil Justice Expense and Delay Reduction Plan
Section 1:03 - Assignment to a Management Track

(a) The clerk of court will assign cases to tracks (a) through (d) based on the initial pleading.

(b) In all cases not appropriate for assignment by the clerk of court to tracks (a) through (d), the
plaintiff shall submit to the clerk of court and serve with the complaint on all defendants a case management
track designation form specifying that the plaintiff believes the case requires Standard Management or
Special Management. In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on the
plaintiff and all other parties, a case management track designation form specifying the track to which that
defendant believes the case should be assigned.

(c) The court may, on its own initiative or upon the request of any party, change the track
assignment of any case at any time.

(d) Nothing in this Plan is intended to abrogate or limit a judicial officer's authority in any case
pending before that judicial officer, to direct pretrial and trial proceedings that are more stringent than those
of the Plan and that are designed to accomplish cost and delay reduction.

(e) Nothing in this Plan is intended to supersede Local Civil Rules 40.1 and 72.1, or the
procedure for random assignment of Habeas Corpus and Social Security cases referred to magistrate judges
of the court.

SPECIAL MANAGEMENT CASE ASSIGNMENTS
(See §1.02 (e) Management Track Definitions of the
Civil Justice Expense and Delay Reduction Plan)

Special Management cases will usually include that class of cases commonly referred to as "complex
litigation" as that term has been used in the Manuals for Complex Litigation. The first manual was prepared
in 1969 and the Manual for Complex Litigation Second, MCL 2d was prepared in 1985. This term is
intended to include cases that present unusual problems and require extraordinary treatment. See §0.1 of the
first manual. Cases may require special or intense management by the court due to one or more of the
following factors: (1) large number of parties; (2) large number of claims or defenses; (3) complex factual
issues; (4) large volume of evidence; (5) problems locating or preserving evidence; (6) extensive discovery;
(7) exceptionally,long time needed to prepare for disposition; (8) decision needed within an exceptionally
short time; and (9) need to decide preliminary issues before final disposition. It may include two or more
related cases. Complex litigation typically includes such cases as antitrust cases; cases involving a large
number of parties or an unincorporated association of large membership; cases involving requests for
injunctive relief affecting the operation of large business entities; patent cases; copyright and trademark
cases, common disaster cases such as those arising from aircraft crashes or marine disasters; actions brought
by individual stockholders; stockholder's derivative and stockholder's representative actions; class actions or
potential class actions; and other civil (and criminal) cases involving unusual multiplicity or complexity of
factual issues. See §0.22 of the first Manual for Complex Litigation and Manual for Complex Litigation
Second, Chapter 33.
